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 7   Attorney for Defendant
     BILLY STEFFEY
 8

 9                       IN THE UNITED STATES DISTRICT COURT FOR THE
10                                      DISTRICT OF NEVADA
11

12   UNITED STATES OF AMERICA,                      )       No. 2:12-CR-00083-MMD-GWF
                                                    )
13                                                  )       UNOPPOSED MOTION TO ALLOW
            Plaintiff,                              )       PRETRIAL TRAVEL OUT OF DISTRICT
14                                                  )       AND
     v.                                             )       ORDER THEREON
15                                                  )
                                                    )
     OMAR BUTT,et al                                )
16
                                                    )
17          Defendant.                              )
                                                    )
18                                                  )

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                                                    )

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21
            Defendant Billy Steffey desires to travel as follows:
22
            Departure: Virgin America flight 1178 to Newark, New Jersey, departing San Francisco
23
     on October 2, 2013, at 2:25 p.m.
24
            Return: October 7, 2013, departing Newark at 5:29 p.m. on Virgin America flight 193 to
25
     San Francisco.
26
            Defendant Steffey would be accompanied by his wife, mother-in-law, and son. The
27
     purpose of the trip is to provide his son an opportunity to tour college campuses as he is
28
     graduating high school this year and intends to go to college in New York. Defendant Steffey is




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 2
     very close to his son and feels it is important to support him as he prepares to move across the
 3
     country to attend college.
 4
            Defendant Steffey’s mother-in-law booked and paid for this trip without realizing
 5
     Defendant Steffey was unable to travel outside the Eastern District. The trip was meant to be a
 6
     birthday surprise for Defendant Steffey’s wife. Accommodations have been made at the W
 7
     Hotel located at 541 Lexington Avenue; New York, New York, for October 2 to October 6,
 8
     2013. The family intends to tour various colleges including NYU and Hunter College.
 9
            Defendant Steffey and defense counsel have submitted this itinerary and purpose of
10
     travel to Sacramento Pretrial Services Officer Garcia, who supervises Defendant Steffey.
11
     Officer Garcia does not oppose this request. Defendant Steffey is scheduled to meet with
12
     Officer Garcia on Monday, September 30, and would meet with him again on October 8, 2013.
13
     Defendant Steffey has never missed a meeting with his Pretrial Officer and has successfully
14
     complied with the conditions as set forth by the court. Defendant Steffey understands the
15
     importance of his continued compliance and recognizes the gravity of his situation.
16
            The United States Attorney’s Office in Las Vegas, Nevada, through Assistant
17
     United States Attorney Jonathan Ophardt has been advised of this request and does not
18
     oppose the granting of the Order as requested herein.
19

20
     Dated: September 17, 2013                                   /s/ Mark J. Reichel
21
                                                                 MARK J. REICHEL
22
                                                                 Attorney for Defendant
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                                                                 BILLY STEFFEY
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 2
                                               ORDER
 3
            IT IS SO ORDERED. Defendant Steffey has the permission to travel in the manner
 4
     described above.
 5
            The Court orders as follows: Defendant Steffey shall be allowed to travel to New York
 6
     on October 2, 2013, returning on October 7, 2013.
 7

 8   IT IS SO ORDERED.

 9   Dated: September
            September 20, 2013
                          2013                           _______________________________
10
                                                         HON.  CAM FERENBACH
                                                         C.W. Hoffman,   Jr.
                                                         United States Magistrate Judge
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